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       Attorney for Debtor
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   8
                                  UNITED STATES BANKRUPTCY COURT
   9
                                    NORTHERN DISTRICT OF CALIFORNIA
  10
                                             OAKLAND DIVISION
  11

  12
       In re:                                                  Case No. 18-42556
  13
          Jack Emerson Harrison                                Chapter 13
  14
                                                               OPPORTUNITY FOR HEARING ON
  15                      Debtor.                              MOTION TO VALUE WHOLLY
                                                               UNSECURED DEED OF TRUST IN
  16                                                           FAVOR OF BOSCO CREDIT LLC
                                                               SERVICER FOR FRANKLIN
  17                                                           CREDIT MANAGEMENT
                                                               CORPORATION
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       TO: The Court, Creditors and Parties in Interest:
  21
                PLEASE TAKE NOTICE that the Debtor has filed a Motion to Value Wholly Unsecured
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  23   Deed of Trust in Favor of Bosco Credit LLC Servicer for Franklin Credit Management Corporation

  24   (“Lienholder”). Such Motion seeks to value the collateral of Bosco Credit Union LLC at $0 for

  25   purposes of the plan. The subject Deed of Trust in Favor of Bosco Credit LLC Servicer for Franklin
  26   Credit Management Corporation was recorded in the State of California, County of Contra Costa on
  27   February 28, 2007, and given document number DOC-2007-0059459-00. Such lien is currently
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         OPPORTUNITY FOR HEARING ON APPLICATION FOR MOTION TO VALUE WHOLLY UNSECURED DEED OF
Case: 18-42556    Doc#
       TRUST IN FAVOR OF36  Filed:
                        BOSCO      12/21/18
                              CREDIT           Entered:
                                     LLC SERVICER       12/21/18
                                                  FOR FRANKLIN    12:06:31
                                                               CREDIT       PageCORPORATION
                                                                      MANAGEMENT 1 of 2
                                                      Page 1
   1   attached as a second Deed of Trust against the residence located at 5184 Sandmound Boulevard,
   2   Oakley, California (“real property”).
   3           PLEASE ALSO TAKE NOTICE:
   4
               Any objection to the requested relief, or a request for hearing on the matter, must be filed and
   5
       served upon the initiating party within 10 days of mailing the notice;
   6
               Any objection or request for a hearing must be accompanied by any declarations or
   7
       memoranda of law any requesting party wishes to present in support of its position;
   8
               If there is no timely objection to the requested relief or a request for hearing, the court may
   9
       enter an order granting the relief by default.
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               In the event of a timely objection or request for hearing, the initiating party will give at least
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  12
       seven days written notice of the hearing to the objecting or requesting party, and to any trustee or

  13   committee appointed in the case.

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       Dated: December 21, 2018
                                                        /s/Michael J. Primus
  16                                                    MICHAEL J. PRIMUS
                                                        Attorney for Debtor
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         OPPORTUNITY FOR HEARING ON APPLICATION FOR MOTION TO VALUE WHOLLY UNSECURED DEED OF
Case: 18-42556    Doc#
       TRUST IN FAVOR OF36  Filed:
                        BOSCO      12/21/18
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                                                               CREDIT       PageCORPORATION
                                                                      MANAGEMENT 2 of 2
                                                         Page 2
